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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-cv-22923-GA YLES/OTAZO-REYES

JELEN CARPIO
as personal representative of the
estate of DIOGENES CARPIO, JR.,

Plaintiff,
-VS-
NCL (BAHAMAS) LTD.,
D-1 DAVIT INTERNATIONAL, INC.,
HATECKE SERVICE USA, LLC,

Defendants.
/

DECLARATION OF ANTHONY P. STRASISUS
IN SUPPORT OF D-I DAVIT INTERNATIONAL, INC.’S
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
OR, IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT

I, Anthony P. Strasius, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

1. I am a partner at the law firm of Wilson, Elser, Moskowitz, Edelman & Dicker LLP
(“Wilson Elser”), 100 Southeast Second Street — Suite 34800 Miami, Florida 33131-2144 and
counsel for D-I Davit International Inc. (““Davits US”) in this action.

2. In my capacity as counsel for Davits US, I am fully familiar with the facts set forth
herein, based on my personal knowledge and review of the files and pleadings in this and related
actions.

3. I submit this Declaration support of Davit US’ Motion to Dismiss the Complaint
filed by Plaintiff Jelen Carpio (‘Plaintiff’) as representative of decedent Diogenes Carpio, JR.

(“Decedent”), or, in the alternative, Motion for Summary Judgment.

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4, Davit US makes this Motion on the ground that Davit US is not within the
distributive chain of the product — davits installed onboard the vessel Norwegian Breakaway — that
Plaintiff alleges caused Decedent’s injury in her claims against Davit US. (See Compl., Counts
Ill, V, VI, and VID)

5. As set forth in the accompanying Declaration of Joachim Wiese, Davit US is an
inactive corporation that did not manufacture, sell, distribute, install, service or maintain the davits
installed or located on the Norwegian Breakaway, and otherwise had no role involving them. (See
Joachim Dec., generally).

6. As counsel for Davits US, I informed Plaintiffs counsel, Lipcon, Margulies, Alsina
& Winkleman, P.A. (“Lipcon”) of this fact.

7. On June 18, 2018, I contacted Lipcon by e-mail to memorialize a telephone
conversation with Lipcon attorney, Michael Winkleman. In that e-mail, I wrote to request an
extension of time for Davit US to respond to Plaintiff's Complaint, and to advise Lipcon that Davit
US was not the correct defendant, because it did not deliver, install, or manufacture the Davits in
question.

8. ‘Additionally, I informed Lipcon that we were willing to identify the correct
defendant. Winkleman responded to confirm the extension, and to request documentation so that
he could “look into the issue about the proper defendant.”

9. A true and correct copy of this correspondence is annexed hereto as Exhibit A.

10. On July 24, 2018, I provided Winkleman with the pertinent documentation
demonstrating that Davits US had no responsibility for the davits onboard the Norwegian
Breakaway, and that it was d-i davit international GmbH (“Davit DE”) that sold and serviced the

davits.

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11. A true and correct copy of this correspondence, and follow up communications with
Winkleman, is annexed hereto as Exhibit B.

12. Subsequently, Steven Jones, an associate a Wilson Elser, contacted Winkleman on
August 7, 2018 to request an update, and note the “waste of time and money” that would result if
Plaintiff's counsel continued to pursue “the incorrect entity.” (Exhibit B, p. 2).

13.  Lipcon responded that Plaintiff was not willing to “swap out the defendants” citing
the need to better “understand the relationship, if any” between the entities. (/d.)

14. Wilson Elser offered to produce an affidavit providing further detail. Ud., p. 1)
Additionally, to further facilitate the naming of the proper party, Wilson Elser offered to
recommend to Davits DE that it waive service of the Complaint, subject to preserving all defenses,
under the 1965 Hague Convention of Service Abroad of Judicial and Extrajudicial Documents (the
“Hague Convention”) in return for discontinuing the action against the U.S. entity. (/d.) Lipcon
replied that an affidavit would “weigh heavily in [their] decision.” (/d.)

15. Accordingly, on August 8, 2018, Wilson Elser provided Lipcon with the Wiese
Declaration (id., p. 1), which (i) testified to Davits US having only been incorporated in 2013 and
having no involvement in the sale, installation, service or maintenance of the davits or equipment
located on the Norwegian Dream, and (ii) attached Davits US’ tax filings demonstrating that it had
no corporate operations and was thus inactive. (See Wiese Declaration, generally, and Ex. A).

16. However, even after receiving the sales documentation, Wiese Declaration, and the
Wiese Declaration’s exhibits, all showing that Davit US is not the proper party, Plaintiffs counsel

has refused to discontinue the action against Davit Us, necessitating the instant Motion.

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17. For the foregoing reasons, and those set forth in the accompanying Memorandum
of Law, Davit US respectfully requests that this Court enter an order dismissing Plaintiffs claims
against Davit US with prejudice.

18. I declare under penalty of perjury that the foregoing is true and correct.

Executed this 17th day of August 2018.

nthony P. Strasius

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